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10
11                      UNITED STATES DISTRICT COURT
12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
      CHAKA THEUS, individually and on              Case No. 2:24-cv-8780
14
      behalf of all others similarly situated,
15                                                  CLASS ACTION COMPLAINT
16                        Plaintiff,
                                                    JURY TRIAL DEMANDED
            v.
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      NATURAL ORGANICS, INC. d/b/a
19    NaturesPlus,
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21                        Defendant.

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                                   CLASS ACTION COMPLAINT
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1           Plaintiff Chaka Theus (“Plaintiff”), on behalf of herself, all others similarly
2     situated, and the general public, by and through her undersigned counsel, hereby
3     sues Defendant Natural Organics, Inc. d/b/a/ NaturesPlus (“Defendant”) and, upon
4     information and belief and investigation of counsel, alleges as follows:
5                                 I.     INTRODUCTION
6           1.     Defendant makes, distributes, sells, and markets a wide variety of
7     dietary supplements under the brand name NaturesPlus. The products at issue
8     include the following, in any size, count, or variation:
9                • NaturesPlus Iron 40 mg Tablets;
10               • NaturesPlus Vitamin E 400 IU (268 mg) Chewable Tablets;
11               • NaturesPlus Super C Complex 1000 mg Capsules;
12               • NaturesPlus Egg Yolk Lecithin 600 mg Capsules;
13               • NaturesPlus Calcium/Magnesium/Vitamin D3 1200 mg/ 600 mg/ 25
14                 mcg with 100 mcg Vitamin K2 Tablets;
15               • NaturesPlus Ultra Cranberry® Sustained Release 1000 mg Tablets;
16               • NaturesPlus Ultra Chewable Cranberry® 400 mg Cranberry 120 mg
17                 Vitamin C Chewable Tablets;
18               • NaturesPlus Vitamin C 250 mg Gummies;
19               • NaturesPlus Magnesium Citrate 105 mg Gummies;
20               • NaturesPlus Herbal Actives Resveratrol 125 mg Extended Release
21                 Tablets;
22               • NaturesPlus Herbal Actives Red Yeast Rice 600 mg Extended Release
23                 Mini-Tabs;
24               • NaturesPlus AgeLoss® Resveratrol Anti-Aging Complex Trans-
25                 Resveratrol 250 mg Tablets;
26               • NaturesPlus AgeLoss® Prostate Support ReSettin 800 mg Capsules;
27               • NaturesPlus AgeLoss® FIRST DAY™ Healthy Immune Response
28                 Tablets 12 mg Olive Hydroxytyrosol;

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1                • NaturesPlus PRO Suntheanine® L-Theanine 200 mg Capsules;
2                • NaturesPlus PRO Sustained Release NAC 1200 mg Tablets;
3                • NaturesPlus PRO NAC 1200 mg Capsules;
4                • NaturesPlus PRO DIM 200 mg Capsules;
5                • NaturesPlus PRO Berberine 750 mg Capsules; and
6                • NaturesPlus PRO Berberine 1500 mg Tablets
7     (collectively, the “Products”).
8           2.     Defendant deceptively labels certain of its NaturesPlus products by
9     misrepresenting the dosage amount of each capsule, tablet, or gummy. Specifically,
10    the front labels of the NaturesPlus Products prominently advertise a certain dosage
11    amount, for example, “Iron 40 mg.” The front labels also advertise the number of
12    capsules, tablets, or gummies included in each Product, for example, 90 tablets.
13    Reasonable consumers are led to believe that each capsule, tablet, or gummy
14    contains the advertised dosage amount, for example, 40 mg of iron in each tablet.
15          3.     The truth, however, is that each capsule does not contain the advertised
16    dosage amount. Instead, each capsule, tablet, or gummy contains only a fraction of
17    the advertised dosage and consumers must ingest two or more capsules to achieve
18    the advertised dosage. As a result, consumers grossly overpay for the Products,
19    receiving only half, a third, or a quarter of the advertised value while paying the full
20    purchase price.
21          4.     Plaintiff read and relied upon Defendant’s advertising when purchasing
22    the NaturesPlus Iron 40 mg product and was damaged as a result.
23          5.     Plaintiff brings this action on behalf of herself and all other similarly
24    situated consumers in the United States, alleging violations of the California
25    Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. (“CLRA”), Unfair
26    Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”), and False
27    Advertising Law, §§ 17500 et seq. (“FAL”). Plaintiff brings further causes of action
28    for breach of express and implied warranties, negligent misrepresentation,

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1     intentional misrepresentation/fraud, and quasi-contract/unjust enrichment.
2            6.       Plaintiff seeks an order compelling Defendant to (a) cease marketing
3     the Products using the misleading and unlawful tactics complained of herein, (b)
4     destroy all misleading deceptive, and unlawful materials, (c) conduct a corrective
5     advertising campaign, (d) restore the amounts by which it has been unjustly
6     enriched, and (e) pay restitution damages and punitive damages, as allowed by law.
7                              II.    JURISDICTION AND VENUE
8            7.       This Court has original jurisdiction under 28 U.S.C. § 1332(d)(2) (The
9     Class Action Fairness Act) because the matter in controversy exceeds the sum or
10    value of $5,000,000 exclusive of interest and costs and because more than two-thirds
11    of the members of the Class reside in states other than the state of which Defendant
12    is a citizen.
13           8.       The court has personal jurisdiction over Defendant. Defendant
14    purposely availed itself to California because Defendant does business within this
15    judicial district, sells the Products in this judicial district, and is committing the acts
16    complained of below within this judicial district.
17           9.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the
18    injury in this case substantially occurred in this District. Defendant has intentionally
19    availed itself of the laws and markets of this District through the promotion,
20    marketing, distribution, and sale of the Products in this District, and is subject to
21    personal jurisdiction in this District.
22                                        III.   PARTIES
23           10.      Defendant Natural Organics, Inc., d/b/a NaturesPlus, is a New York
24    corporation with a principal place of business located at 548 Broadhollow Road,
25    Melville, New York, 11747. Defendant makes, labels, distributes, sells, and markets
26    NaturesPlus branded products throughout the United States and in California.
27    Defendant is responsible for the making, labelling, distribution, selling, and
28    marketing of the Products throughout the applicable statute of limitations period.

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1           11.     Plaintiff Chaka Theus (“Plaintiff”) is a resident of California and
2     purchased the NaturesPlus Iron 40 mg product at a Walmart store located in L.A.
3     County in or around July of 2024. Plaintiff saw the misrepresentations made on the
4     Product label prior to and at the time of purchase and understood them as
5     representations and warranties that each unit of the product contained the advertised
6     dosage amount. Plaintiff relied on the representations made on the Product’s label
7     in deciding to purchase the Product. These representations and warranties were part
8     of her basis of the bargain, in that she would not have purchased the Product, or
9     would only have been willing to purchase the Product at a lower price, had she
10    known the representations were false. Plaintiff would consider purchasing the
11    Product again if the advertising statements made on the Product labels were, in fact,
12    truthful and represented in a manner as not to deceive consumers.
13                            IV.   NATURE OF THE ACTION
14          12.     Defendant sells the following NaturesPlus branded products (the
15    “Products”) with misleading dosage representations on the Product packaging and
16    labels:
17                • NaturesPlus Iron 40 mg Tablets – Two (2) tablets are required to
18                  achieve the advertised dosage of 40 mg.
19                • NaturesPlus Vitamin E 400 IU (268 mg) Chewable Tablets – Two
20                  (2) tablets are required to achieve the advertised dosage of 400 IU (268
21                  mg).
22                • NaturesPlus Super C Complex 1000 mg Capsules – Two (2) capsules
23                  are required to achieve the advertised dosage of 1,000 mg.
24                • NaturesPlus Egg Yolk Lecithin 600 mg Capsules – Two (2) capsules
25                  are required to achieve the advertised dosage of 600 mg.
26                • NaturesPlus Calcium/Magnesium/Vitamin D3 1200 mg/ 600 mg/ 25
27                  mcg with 100 mcg Vitamin K2 Tablets – Four (4) tablets are required
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1                 to achieve the advertised dosage of 1,200 mg calcium, 600 mg
2                 magnesium, 25 mcg vitamin D3, and 100 mcg vitamin K2.
3              • NaturesPlus Ultra Cranberry® Sustained Release 1000 mg Tablets
4                 – Two (2) tablets are required to achieve the advertised dosage of 1,000
5                 mg.
6              • NaturesPlus Ultra Chewable Cranberry® 400 mg Cranberry 120
7                 mg Vitamin C Chewable Tablets – Two (2) tablets are required to
8                 achieve the advertised dosage of 400 mg cranberry and 120 mg vitamin
9                 C.
10             • NaturesPlus Vitamin C 250 mg Gummies – Two (2) gummies are
11                required to achieve the advertised dosage of 250 mg.
12             • NaturesPlus Magnesium Citrate 105 mg Gummies – Three (3)
13                gummies are required to achieve the advertised dosage of 105 mg.
14             • NaturesPlus Herbal Actives Resveratrol 125 mg Extended Release
15                Tablets – Two (2) tablets are required to achieve the advertised dosage
16                of 125 mg.
17             • NaturesPlus Herbal Actives Red Yeast Rice 600 mg Extended
18                Release Mini-Tabs – Two (2) tablets are required to achieve the
19                advertised dosage of 600 mg.
20             • NaturesPlus AgeLoss® Resveratrol Anti-Aging Complex Trans-
21                Resveratrol 250 mg Tablets – Three (3) tablets are required to achieve
22                the advertised dosage of 250 mg.
23             • NaturesPlus AgeLoss® Prostate Support ReSettin 800 mg Capsules
24                – Three (3) capsules are required to achieve the advertised dosage of
25                800 mg.
26             • NaturesPlus AgeLoss® FIRST DAY™ Healthy Immune Response
27                Tablets 12 mg Olive Hydroxytyrosol – Three (3) tablets are required
28                to achieve the advertised dosage of 12 mg.

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1                 • NaturesPlus PRO Suntheanine® L-Theanine 200 mg Capsules –
2                   Two (2) capsules are required to achieve the advertised dosage of 200
3                   mg.
4                 • NaturesPlus PRO Sustained Release NAC 1200 mg Tablets – Two
5                   (2) tablets are required to achieve the advertised dosage of 1,200 mg.
6                 • NaturesPlus PRO NAC 1200 mg Capsules – Two (2) capsules are
7                   required to achieve the advertised dosage of 1,200 mg.
8                 • NaturesPlus PRO DIM 200 mg Capsules – Two (2) capsules are
9                   required to achieve the advertised dosage of 200 mg.
10                • NaturesPlus PRO Berberine 750 mg Capsules – Two (2) capsules
11                  are required to achieve the advertised dosage of 750 mg.
12                • NaturesPlus PRO Berberine 1500 mg Tablets – Two (2) tablets are
13                  required to achieve the advertised dosage of 1,500 mg.
14          13.     True and correct copies of the NaturesPlus Products from Defendant’s
15    website, www.NaturesPlus.com, are shown below:
16                              NaturesPlus Iron 40 mg Tablets
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1               NaturesPlus Vitamin E 400 IU (268 mg) Chewable Tablets
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15                  NaturesPlus Super C Complex 1000 mg Capsules
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                             CLASS ACTION COMPLAINT
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1                   NaturesPlus Egg Yolk Lecithin 600 mg Capsules
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15     NaturesPlus Calcium/Magnesium/Vitamin D3 1200 mg/ 600 mg/ 25 mcg with
16                               100 mcg Vitamin K2 Tablets
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                             CLASS ACTION COMPLAINT
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1          NaturesPlus Ultra Cranberry® Sustained Release 1000 mg Tablets
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15   NaturesPlus Ultra Chewable Cranberry® 400 mg Cranberry 120 mg Vitamin
16                               C Chewable Tablets
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                            CLASS ACTION COMPLAINT
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1                      NaturesPlus Vitamin C 250 mg Gummies
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15                NaturesPlus Magnesium Citrate 105 mg Gummies
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                            CLASS ACTION COMPLAINT
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1      NaturesPlus Herbal Actives Resveratrol 125 mg Extended Release Tablets
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15    NaturesPlus Herbal Actives Red Yeast Rice 600 mg Extended Release Mini-
16                                      Tabs
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                            CLASS ACTION COMPLAINT
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1     NaturesPlus AgeLoss® Resveratrol Anti-Aging Complex Trans-Resveratrol
2                                  250 mg Tablets
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15        NaturesPlus AgeLoss® Prostate Support ReSettin 800 mg Capsules
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1     NaturesPlus AgeLoss® FIRST DAY™ Healthy Immune Response Tablets 12
2                                mg Olive Hydroxytyrosol
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15           NaturesPlus PRO Suntheanine® L-Theanine 200 mg Capsules
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1             NaturesPlus PRO Sustained Release NAC 1200 mg Tablets
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15                    NaturesPlus PRO NAC 1200 mg Capsules
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                            CLASS ACTION COMPLAINT
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1                      NaturesPlus PRO DIM 200 mg Capsules
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15                   NaturesPlus PRO Berberine 750 mg Capsules
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                            CLASS ACTION COMPLAINT
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1                      NaturesPlus PRO Berberine 1500 mg Tablets
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15         14.    Defendant’s dosing representations are prominently and conspicuously
16   displayed in large, bolded font to grab the consumer’s attention.
17         15.    Contrary to the prominently advertised dosage amount on each of the
18   Products’ labels, each capsule, tablet, or gummy contains only a fraction of the
19   advertised dosage amount. For example, consumers must ingest two (2) capsules of
20   the NaturesPlus Iron 40 mg Product to achieve the advertised dosage of 40 mg.
21   Consumers must ingest three (3) gummies of the NaturesPlus Magnesium Citrate
22   105 mg Product to achieve the advertised dosage of 105 mg. This leads consumers
23   to overpay for the Products by a significant margin.
24         16.    Defendant’s advertising misleads reasonable consumers into believing
25   that each capsule, tablet, or gummy unit contains the advertised dosage of nutrients.
26   However, contrary to the labeling, each unit only contains a fraction of the advertised
27   nutrients. Consequently, reasonable consumers believe that they are receiving two
28   or more times the amount of nutrients per Product than what they are actually

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1    receiving. As a result, Defendant has charged consumers a premium for the Products,
2    while cutting costs and reaping the financial benefits of selling dietary supplements
3    with less than the advertised dosage of nutrients in each Product.
4            17.   The label misrepresentations are material to reasonable consumers,
5    including Plaintiff. The dosage representations (number of milligrams) and unit
6    representations (number of capsules, tablets, or gummies) convey the type and
7    amount of nutrients provided by the Products, and the primary purpose of the
8    Products is to provide the amount of nutrients advertised by the Product labels.
9    Accordingly, reasonable consumers are likely to be deceived by the Products’ labels.
10       DEMAND FOR DIETARY SUPPLEMENTS AND THE COMPETITIVE
11                                       MARKET
12           18.   Over the past 20 years, there has been a significant increase in the
13   prevalence of supplement use. The dietary supplement market has been growing in
14   terms of sales and products available on the market. Consumers are being presented
15   a large number of products, brands, and formulations, distributed through a wide
16   variety of marketing channels. The value of the global dietary supplements market
17   was estimated to be worth nearly USD 152 billion in 2021, and is expected to be
18   worth USD 300 billion by 2028. 1
19           19.   In response to consumers’ desire for dietary supplements, many
20   companies, like Defendant, have scrambled to manufacture, market, and sell
21   purportedly high dosages or more nutrients, at the same or lower costs, in an effort
22   to gain market share and outsell competitors. Unfortunately, rather than creating the
23   actual high dosage dietary supplements with more nutrients that consumers desire,
24   Defendant makes products with lower dosages and less nutrients than is advertised
25   on the Products’ packaging and front labels, and then markets them to consumers
26   through deceptive labeling and packaging claims. In doing so, Defendant misleads
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28   1
         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC10421343/

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1    consumers into believing that the Products contain higher dosages or more nutrients
2    in each capsule, tablet, or gummy than what is actually contained therein.
3            20.   Defendant’s competitors correctly label and sell their products to
4    accurately reflect the correct amount of nutrients contained in each capsule, tablet,
5    or gummy unit. They do so by specifying on the front label the amount of nutrients
6    per capsule, tablet, or gummy unit. For example, The Vitamin Shoppe’s Iron 28 mg
7    product contains exactly what it says: iron capsules each containing 28 mg of iron.
8                             The Vitamin Shoppe Iron 28 mg 2
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22           21.   Alternatively, Defendant’s competitors disclose on their products’ front
23   labels that the advertised dosage amount does not apply per capsule, and instead
24   applies “per serving.” For example, NatureMade’s Iron 18 mg Gummies with
25   Vitamin C product specifies that the product contains 18 mg of iron “per serving”
26   and not per gummy.
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28   2
         https://www.vitaminshoppe.com/p/iron-28-mg-300-capsules/vs-1203

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1                      NatureMade Iron Gummies with Vitamin C 3
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18         22.    By falsely, misleadingly, and deceptively labeling and advertising the
19   Products, Defendant sought an unfair advantage over its lawfully acting competitors.
20               PLAINTIFF’S PURCHASES, RELIANCE, AND INJURY
21         23.    Plaintiff Chaka Theus purchased NaturesPlus Iron 40 mg from a
22   Walmart store in L.A. County in or around July 2024 in reliance on the Product’s
23   front label advertising.
24         24.    In deciding to purchase the Product, Plaintiff read and relied on the
25   dosage information displayed on the front label, which led Plaintiff to believe that
26   3
      https://www.naturemade.com/products/iron-18-mg-gummies-with-vitamin-
27   c?_pos=1&_sid=db2448afd&_ss=r&utm_campaign=dtcpmaxtier2&utm_source=google&gad_so
     urce=1&gclid=CjwKCAjwmaO4BhAhEiwA5p4YL0kwXdOaWousFM7T29hioXrocYtLxl5vN
28   KKE3sq6eb1MMXXpwnnJ2hoC78YQAvD_BwE&gclsrc=aw.ds&variant=34419665600651

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1    each tablet in the product contained the advertised dosage – 40 mg of iron per tablet.
2    At the time of purchase, Plaintiff did not know that the advertised dosage was false
3    and misleading, and that more than one capsule would need to be consumed to
4    receive the advertised dosage of iron.
5              25.   Plaintiff would not have purchased the Product, or would not have paid
6    as much as she did for it, had she known that each capsule contained only a fraction
7    of the advertised dosage. Plaintiff paid a premium for the Product due to the
8    misleading labelling on the Product’s packaging.
9              26.   The representations on the Products’ label were and are false and
10   misleading, and had the capacity, tendency, and likelihood to confuse or confound
11   Plaintiff and other consumers acting reasonably (including the putative Class)
12   because, as described in detail herein, the Product labels misrepresent the dosage of
13   each capsule, tablet, or gummy.
14             27.   Plaintiff acted reasonably in relying on the challenged claims that
15   Defendant intentionally, prominently, and uniformly placed on the Products’ label
16   and packaging with the intent to induce average consumers into purchasing them.
17             28.   Plaintiff first discovered Defendant’s unlawful acts described herein in
18   September of 2024 when she learned that Defendant intentionally misrepresented
19   the dosage in the product that she purchased.
20             29.   Plaintiff, in the exercise of reasonable diligence, could not have
21   discovered earlier Defendant’s unlawful acts described herein because the violations
22   were known to Defendant, and not to her throughout the Class Period herein.
23             30.   Plaintiff paid more for the Product, and would only have been willing
24   to pay less or unwilling to purchase it at all, absent the false and misleading labeling
25   statements complained of herein.
26             31.   For these reasons, the Product was worth less than what Plaintiff paid
27   for it.
28             32.   Plaintiff would like to, and would consider, purchasing the Products

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1    again when she can do so with the assurance that the Products’ labels are truthful
2    and consistent with the Products’ actual ingredients.
3          33.    Plaintiff will be unable to rely on the Products’ advertising or labeling
4    in the future, and so will not purchase the Products again although she would like to.
5          34.    Plaintiff lost money as a result of Defendant’s deceptive claims and
6    practices in that she did not receive what she paid for when purchasing the Product.
7          35.    Plaintiff detrimentally altered her position and suffered damages in an
8    amount equal to the premium she paid for the Product.
9          36.    The senior officers and directors of Defendant allowed the Products to
10   be sold with full knowledge or reckless disregard that the challenged claims are
11   fraudulent, unlawful, and misleading.
12                             SUBSTANTIAL SIMILARITY
13         37.    Defendant’s NaturesPlus Products described herein are substantially
14   similar, as they each contain (1) a dosage and unit representation conspicuously and
15   prominently placed on the primary display panel of the Products’ front labels, and
16   (2) require consumption of two or more units to obtain the advertised dosage of
17   nutrients.
18         38.    The misleading advertising on the Products’ front labels are all the
19   same: consumers are led to believe that each capsule, tablet, or gummy contains the
20   advertised dosage amount; however, the Products only contain half, a third, or a
21   quarter of the amount of nutrients advertised. Consumers therefore only receive half,
22   a third, or a quarter of the amount of nutrients promised and pay more than what the
23   Products would be worth had Defendant’s advertising been true.
24                           NO ADEQUATE REMEDY AT LAW
25         39.    Plaintiff seeks damages and, in the alternative, equitable restitution.
26   Plaintiff and members of the class are entitled to equitable relief as no adequate
27   remedy at law exists.
28         40.    The statutes of limitations for the causes of action pled herein vary.

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1    Class members who purchased the Products more than three years prior to the filing
2    of the complaint will be barred from recovery if equitable relief were not permitted
3    under the UCL.
4          41.    The scope of actionable misconduct under the unfair prong of the UCL
5    is also broader than the other causes of action asserted herein. It includes
6    Defendant’s overall unfair marketing scheme to promote and brand the Products
7    over a long period of time in order to gain an unfair advantage over competitor
8    products. The UCL also creates a cause of action for violations of law (such as
9    statutory or regulatory requirements and court orders related to similar
10   representations and omissions made on the type of products at issue). This is
11   especially important here because Plaintiff alleges Defendant has committed
12   “unlawful” acts and brings a claim for violation of the UCL’s “unlawful prong.”
13   Plaintiff’s UCL unlawful prong claim does not rest on the same conduct as her other
14   causes of action, and there is no adequate remedy at law for this specific unlawful
15   claim. Plaintiff and class members may also be entitled to restitution under the UCL,
16   while not entitled to damages under other causes of action asserted herein (e.g., the
17   FAL requires actual or constructive knowledge of the falsity; the CLRA is limited
18   to certain types of plaintiffs (an individual who seeks or acquires, by purchase or
19   lease, any goods or services for personal, family, or household purposes) and other
20   statutorily enumerated conduct).
21         42.    Injunctive relief is appropriate on behalf of Plaintiff and members of
22   the class because Defendant continues to omit material facts about the Products.
23   Injunctive relief is necessary to prevent Defendant from continuing to engage in the
24   unfair, fraudulent, and/or unlawful conduct described herein and to prevent future
25   harm—none of which can be achieved through available legal remedies (such as
26   monetary damages to compensate past harm). Injunctive relief, in the form of
27   affirmative disclosures is necessary to dispel the public misperception about the
28   Products that has resulted from years of Defendant’s unfair, fraudulent, and unlawful

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1    marketing efforts. Such disclosures would include, but are not limited to, publicly
2    disseminated statements that the Products’ labeling misrepresentations are untrue
3    and providing accurate information about the Products’ true nature; and/or requiring
4    prominent disclaimers on the Products’ front labels concerning the Products’ true
5    nature. An injunction requiring affirmative disclosures to dispel the public’s
6    misperception, and prevent the ongoing deception, is also not available through a
7    legal remedy (such as monetary damages). In addition, Plaintiff is currently unable
8    to accurately quantify the damages caused by Defendant’s future harm, because
9    discovery and Plaintiff’s investigation have not yet completed, rendering injunctive
10   relief necessary. Further, because a public injunction is available under the UCL,
11   damages will not adequately benefit the general public in a manner equivalent to an
12   injunction.
13         43.     Moreover, a legal remedy is not adequate if it is not as certain as an
14   equitable remedy. Here, Plaintiff may lack an adequate remedy at law if, for instance,
15   damages resulting from her purchases of the Products are determined to be an
16   amount less than the premium price of the Products. Without compensation for the
17   full premium price of the Products, Plaintiff and class members would be left without
18   the parity in purchasing power to which they are entitled.
19         44.     By the same token, Plaintiff’s common law claims require additional
20   showings, compared to the UCL, FAL, or unjust enrichment claims. For example,
21   to prevail on a breach of warranty claim, Plaintiff must show that the challenged
22   statements constitute a warranty and that the warranty was part of the basis of the
23   bargain. No such showings are required by the UCL or FAL, or for an unjust
24   enrichment theory. In fact, the UCL and the FAL were enacted specifically to create
25   new claims and remedies not available at common law. And unjust enrichment exists
26   in part because contractual claims are often more difficult to establish. In this way,
27   Plaintiff’s UCL and FAL claims, and Plaintiff’s unjust enrichment claims, are more
28   certain than their legal claims.

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1          45.    It is premature to determine whether an adequate remedy at law exists.
2    This is an initial pleading and discovery has not yet commenced and/or is at its initial
3    stages. No class has been certified yet. No expert discovery has commenced and/or
4    completed. The completion of fact/non-expert and expert discovery, as well as the
5    certification of this case as a class action, are necessary to finalize and determine the
6    adequacy and availability of all remedies, including legal and equitable, for
7    Plaintiff’s individual claims and any certified class or subclass. Plaintiff therefore
8    reserves her right to amend this complaint and/or assert additional facts that
9    demonstrate this Court’s jurisdiction to order equitable remedies where no adequate
10   legal remedies are available for either Plaintiff and/or any certified class or subclass.
11   Such proof, to the extent necessary, will be presented prior to the trial of any
12   equitable claims for relief and/or the entry of an order granting equitable relief.
13                        V.    CLASS ACTION ALLEGATIONS
14         46.    Pursuant to Federal Rule of Civil Procedure 23, Plaintiff seeks
15   certification of the following Classes (or alternative Classes or Subclasses):
16
           The Nationwide Class
17         All U.S. citizens who purchased the Products in their respective state of
18         citizenship for personal and household use and not for resale within the
           applicable statute of limitations and until the date class notice is disseminated.
19
20         The California Subclass
21         All California citizens who purchased the Products in California for personal
           and household use and not for resale within the applicable statute of
22         limitations and until the date class notice is disseminated.
23
24         47.    The Classes and Subclasses described in this complaint will jointly be
25   referred to the “Class” or the “Classes” unless otherwise stated, and the proposed
26   members of the Classes and Subclasses will jointly be referred to as “Class
27   Members.”
28         48.    Plaintiff and the Class reserve their right to amend or modify the Class

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1    definitions with greater specificity or further division into subclasses or limitation to
2    particular issues as discovery and the orders of this Court warrant.
3          49.      Excluded from the Class are governmental entities, Defendant, any
4    entity in which Defendant has a controlling interest, Defendant’s employees,
5    officers, directors, legal representatives, heirs, successors and wholly or partly
6    owned subsidiaries or affiliated companies, including all parent companies, and their
7    employees; and the judicial officers, their immediate family members and court staff
8    assigned to this case.
9          50.      The members in the proposed Class are so numerous that individual
10   joinder of all members is impracticable. Due to the nature of the trade and commerce
11   involved, however, Plaintiff believes the total number of Class members is at least
12   in the hundreds and members of the Classes are numerous. While the exact number
13   and identities of the Class members are unknown at this time, such information can
14   be ascertained through appropriate investigation and discovery. The disposition of
15   the claims of the Class members in a single class action will provide substantial
16   benefits to all parties and to the Court.
17         51.     Pursuant to Rule 23(b)(2), Defendant has acted or refused to act on
18   grounds generally applicable to the Classes, thereby making final injunctive relief
19   or corresponding declaratory relief and damages as to the Products appropriate with
20   respect to the Classes as a whole. In particular, Defendant has failed to disclose the
21   true nature of the Products being marketed as described herein.
22         52.      There is a well-defined community of interest in the questions of law
23   and fact involved, affecting the Plaintiff and the Classes and these common
24   questions of fact and law include, but are not limited to, the following:
25               • Whether Defendant breached any express warranties made to Plaintiff
26                  and the Class;
27               • Whether Defendant breached any implied warranties made to Plaintiff
28                 and the Class;

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1                • Whether Defendant violated consumer protection statutes, false
2                   advertising statutes, or state deceptive business practices statutes;
3                • Whether Defendant engaged, and continues to engage, in unfair or
4                   deceptive acts and practices in connection with the marketing,
5                   advertising, and sales of the Products;
6                • Whether reasonable consumers are likely to be misled by Defendant’s
7                   advertising and labeling of the Products;
8                • Whether the Products’ challenged representations are material
9                   representations made to reasonable consumers;
10               • Whether the proposed class is suitable for class certification;
11               • The proper amount of restitution, damages, and punitive damages;
12               • The proper injunctive relief, including a corrective advertising
13                  campaign;
14               • The proper amount of attorneys’ fees.
15         53.      These common questions of law and fact predominate over questions
16   that affect only individual Class Members.
17         54.      Plaintiff’s claims are typical of Class Members’ claims because they
18   are based on the same underlying facts, events, and circumstances relating to
19   Defendant’s conduct. Specifically, all Class Members, including Plaintiff, were
20   subjected to the same misleading and deceptive conduct when they purchased the
21   Products, and suffered economic injury because the Products were and still are
22   misrepresented. Absent Defendant’s business practice of deceptively and unlawfully
23   labeling the Products, Plaintiff and Class Members would not have purchased the
24   Products, or would have paid less for them.
25         55.      Plaintiff will fairly and adequately represent and protect the interests of
26   the Classes, has no interests incompatible with the interests of the Classes, and has
27   retained counsel with substantial experience in handling complex consumer class
28   action litigation. Plaintiff and her counsel are committed to vigorously prosecuting

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1    this action on behalf of the Classes and have the financial resources to do so.
2          56.    Plaintiff and the members of the Classes suffered, and will continue to
3    suffer harm as a result of Defendant’s unlawful and wrongful conduct. A class action
4    is superior to other available methods for the fair and efficient adjudication of the
5    present controversy. Individual joinder of all members of the Classes is
6    impracticable. Even if individual Class members had the resources to pursue
7    individual litigation, it would be unduly burdensome to the courts in which the
8    individual litigation would proceed. Individual litigation magnifies the delay and
9    expense to all parties in the court system of resolving the controversies engendered
10   by Defendant’s common course of conduct. The class action device allows a single
11   court to provide the benefits of unitary adjudication, judicial economy, and the fair
12   and efficient handling of all Class members’ claims in a single forum. The conduct
13   of this action as a class action conserves the resources of the parties and of the
14   judicial system and protects the rights of the class members. Furthermore, for many,
15   if not most, a class action is the only feasible mechanism that allows an opportunity
16   for legal redress and justice.
17         57.    Adjudication of individual Class members’ claims with respect to
18   Defendant would, as a practical matter, be dispositive of the interests of other
19   members not parties to the adjudication, and could substantially impair or impede
20   the ability of other class members to protect their interests.
21         58.    Defendant has acted on grounds applicable to the Class, thereby making
22   appropriate final public injunctive and declaratory relief concerning the Class as a
23   whole.
24         59.    As a result of the foregoing, class treatment is appropriate.
25                              VI.     CAUSES OF ACTION
26                                    FIRST CAUSE OF ACTION
27                          Violations of the Unfair Competition Law,
28                            Cal. Bus. & Prof. Code §§ 17200 et seq.

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1                                  (on behalf of the California Class)
2          60.       Plaintiff realleges and incorporates the allegations elsewhere in the
3    Complaint as if set forth in full herein.
4          61.       California’s Unfair Competition Law, Business and Professions Code
5    §17200 (the UCL”) prohibits any “unfair, deceptive, untrue or misleading
6    advertising.” For the reasons discussed above, Defendant has engaged in unfair,
7    deceptive, untrue and misleading advertising, and continues to engage in such
8    business conduct, in violation of the UCL.
9          62.       California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
10   §§ 17200, et seq., proscribes acts of unfair competition, including “any unlawful,
11   unfair or fraudulent business act or practice and unfair, deceptive, untrue or
12   misleading advertising.”
13                                               Fraudulent
14         63.       A statement or practice is “fraudulent” under the UCL if it is likely to
15   mislead or deceive the public, applying an objective reasonable consumer test.
16         64.       As set forth herein, Defendant’s claims relating to the Products are
17   likely to mislead reasonable consumers to believe that each capsule, tablet, or
18   gummy unit in the Products contained the dosage amount advertised on the Products’
19   front labels.
20          65.      Defendant’s conduct caused and continues to cause substantial injury
21   to Plaintiff and the other Class members. Plaintiff has suffered injury in fact as a
22   result of Defendant’s unfair conduct. Defendant has thus engaged in unlawful, unfair
23   and fraudulent business acts and practices and false advertising, entitling Plaintiff
24   and the Class to public injunctive relief against Defendant, as set forth in the Prayer
25   for Relief.
26          66.      Pursuant to Business and Professions Code § 17203, Plaintiff and the
27   Class seek an order requiring Defendant to immediately cease such acts of unlawful,
28   unfair and fraudulent business practices and requiring Defendant to engage in a

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1    corrective advertising campaign.
2          67.      Plaintiff also seeks an order for the disgorgement and restitution of the
3    premium received from the sale of the Products the Class Members purchased,
4    which was unjustly acquired through acts of unlawful, unfair, and/or fraudulent
5    competition, and attorneys’ fees and costs.
6                                               Unlawful
7          68.      The acts alleged herein are ‘‘unlawful” under the UCL in that they
8    violate at least the following laws:
9                • By knowingly and intentionally concealing from Plaintiff and the other
10                  Class members that each unit of the Products did not contain the
11                  advertised dosage;
12               • By misrepresenting the dosage of the Products on the front label;
13               • By engaging in the conduct giving rise to the claims asserted in this
14                  complaint;
15               • By violating California Civil Code §§ 1709-1711 by making
16                  affirmative misrepresentations about the Products;
17               • By violating California Civil Code §§ 1709-1711 by suppressing
18                  material information about the Products;
19               • By violating the California Commercial Code for breaches of express
20                  and implied warranties;
21               • By violating California’s Sherman Act, Cal. Health & Safety Code §
22                  110390, which prohibits drug and cosmetics labelling that is “false or
23                  misleading in any particular”;
24               • By violating the False Advertising Law, Cal. Bus. & Prof. Code §§
25                  17500 et seq.;
26               • By violating the Consumers Legal Remedies Act, Cal. Civ. Code §§
27                  1750 et seq.
28         69.      Such conduct is ongoing and continues to this date.

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1          70.    Plaintiff and the Class reserve the right to allege other violations of law,
2    which constitute other unlawful business acts or practices.
3                                               Unfair
4          71.    Defendant’s acts, omissions, misrepresentations, practices and
5    nondisclosures as alleged herein also constitute “unfair” business acts and practices
6    within the meaning of the UCL in that its conduct is substantially injurious to
7    consumers, offends public policy, and is immoral, unethical, oppressive, and
8    unscrupulous as the gravity of the conduct outweighs any alleged benefits
9    attributable to such conduct. In the alternative, Defendant’s business conduct as
10   described herein violates relevant laws designed to protect consumers and businesses
11   from unfair competition in the marketplace. Such conduct is ongoing and continues
12   to date.
13         72.    Defendant’s conduct with respect to the labeling, advertising, and sale
14   of the Products was and is also unfair because it violates public policy as declared
15   by specific constitutional, statutory or regulatory provisions, including but not
16   limited to the Consumers Legal Remedies Act, the False Advertising Law, and
17   portions of the California Sherman Food, Drug, and Cosmetic Law.
18         73.    Defendant’s conduct with respect to the labeling, advertising, and sale
19   of the Products was and is also unfair because the consumer injury was substantial,
20   not outweighed by benefits to consumers or competition, and not one consumers
21   themselves could reasonably have avoided.
22         74.    Defendant profited from its sale of the falsely, deceptively, and
23   unlawfully advertised and packaged Products to unwary consumers.
24          75.   Plaintiff and Class Members are likely to continue to be damaged by
25   Defendant’s deceptive trade practices, because Defendant continues to disseminate
26   misleading information on the Products’ packaging. Thus, public injunctive relief
27   enjoining Defendant’s deceptive practices is proper.
28          76.   There were reasonably available alternatives to further Defendant’s

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1    legitimate business interests, other than the conduct described herein.
2          77.    Class-wide     reliance   can    be   inferred   because     Defendant’s
3    misrepresentations were material, i.e., a reasonable consumer would consider them
4    important in deciding whether to buy the Products.
5          78.    Defendant’s misrepresentations were a substantial factor and proximate
6    cause in causing damages and losses to Plaintiff and Class members.
7          79.    Plaintiff and the Classes were injured as a direct and proximate result
8    of Defendant’s conduct because (a) they would not have purchased the Products if
9    they had known the truth and (b) they overpaid for the Products because the Products
10   are sold at a price premium due to the misrepresentations.
11                                SECOND CAUSE OF ACTION
12                           Violations of the False Advertising Law,
13                             Cal. Bus. & Prof. Code §§ 17500 et seq.
14                               (on behalf of the California Class)
15         80.    Plaintiff realleges and incorporates the allegations elsewhere in the
16   Complaint as if set forth herein.
17         81.    The FAL provides that “[i]t is unlawful for any person, firm,
18   corporation or association, or any employee thereof with intent directly or indirectly
19   to dispose of real or personal property or to perform services” to disseminate any
20   statement “which is untrue or misleading, and which is known, or which by the
21   exercise of reasonable care should be known, to be untrue or misleading” Cal. Bus.
22   & Prof. Code § 17500.
23         82.    It is also unlawful under the FAL to disseminate statements concerning
24   property or services that are “untrue or misleading, and which is known, or which
25   by the exercise of reasonable care should be known, to be untrue or misleading.” Id.
26         83.    As alleged herein, Defendant falsely advertised the Products by falsely
27   representing that each unit of the Products contained the advertised dosage, when in
28   fact, a consumer would need to take two or more units to achieve the advertised

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1    dosage.
2          84.      Plaintiff has standing to pursue this claim as Plaintiff has suffered injury
3    in fact as a result of Defendant’s actions as set forth herein. Specifically, prior to the
4    filing of this action, Plaintiff purchased the Products in reliance on Defendant’s false
5    and misleading labeling claims that each unit of the Products contained the
6    advertised dosage.
7          85.      Defendant’s business practices as alleged herein constitute deceptive,
8    untrue, and misleading advertising pursuant to the FAL because Defendant has
9    advertised the Products in a manner that is untrue and misleading, which Defendant
10   knew or reasonably should have known, and omitted material information from its
11   advertising.
12         86.      Defendant profited from its sale of the falsely and deceptively
13   advertised Products to unwary consumers.
14         87.      As a result, Plaintiff, the Class, and the general public are entitled to
15   public injunctive and equitable relief, restitution, and an order for the disgorgement
16   of the funds by which Defendant was unjustly enriched.
17         88.      Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of
18   herself and the Class, seeks an order enjoining Defendant from continuing to engage
19   in deceptive business practices, false advertising, and any other act prohibited by
20   law, including those set forth herein.
21                                   THIRD CAUSE OF ACTION
22                        Violations of the Consumer Legal Remedies Act,
23                                   Cal. Civ. Code §§ 1750 et seq.
24                                 (on behalf of the California Class)
25         89.      Plaintiff realleges and incorporates the allegations elsewhere in the
26   Complaint as if set forth in full herein.
27         90.      The CLRA prohibits deceptive practices in connection with the conduct
28   of a business that provides goods, property, or services primarily for personal,

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1    family, or household purposes.
2          91.      Defendant’s false and misleading labeling and other policies, acts, and
3    practices were designed to, and did, induce the purchase and use of the Products for
4    personal, family, or household purposes by Plaintiff and Class Members, and
5    violated and continue to violate the following sections of the CLRA:
6                • § 1770(a)(5): Representing that goods have characteristics, uses, or
7                   benefits which they do not have;
8                • § 1770(a)(7): Representing that goods are of a particular standard,
9                   quality, or grade if they are of another; and
10               • § 1770(a)(9): Advertising goods or services with intent not to sell them
11                  as advertised.
12         92.      Defendant profited from the sale of the falsely, deceptively, and
13   unlawfully advertised Products to unwary consumers.
14         93.      Defendant’s wrongful business practices constituted, and constitute, a
15   continuing course of conduct in violation of the CLRA.
16         94.      Pursuant to California Civil Code section 1782(d), Plaintiff and the
17   members of the Class seek an order enjoining Defendant from engaging in the
18   methods, acts, and practices alleged herein.
19         95.      On September 10, 2024, Plaintiff sent a notice letter to Defendant’s
20   principal place of business which complies with California Civil Code § 1782(a).
21   Plaintiff sent Defendant individually and on behalf of the proposed Class, a letter via
22   Certified Mail, demanding that Defendant rectify the actions described above and
23   give notice to all affected consumers of its intent to so act.
24         96.      More than thirty days has passed since Plaintiff sent Defendant a CLRA
25   letter and Defendant has failed to take the corrective action described in Plaintiff’s
26   letter. Wherefore, Plaintiff seeks damages, restitution, injunctive relief, and
27   attorneys’ fees and costs for Defendant’s violations of the CLRA.
28                                   FOURTH CAUSE OF ACTION

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1                                  Breach of Express Warranties,
2                                     Cal. Com. Code § 2313(1)
3                                      (on behalf of all Classes)
4          97.    Plaintiff realleges and incorporates the allegations elsewhere in the
5    Complaint as if set forth in full herein.
6          98.    Through the Products’ label and advertising, Defendant made
7    affirmations of fact or promises, or description of goods, described above, which
8    were “part of the basis of the bargain,” in that Plaintiff and the Class purchased the
9    Products in reasonable reliance on those statements. Cal. Com. Code § 2313(1).
10         99.    The foregoing representations were material and were a substantial
11   factor in causing the harm suffered by Plaintiff and the Class because they concerned
12   the allegation that Defendant misrepresented the dosage of each unit of the Products.
13         100. These representations had an influence on consumers’ decisions in
14   purchasing the Products.
15         101. Defendant made the above representations to induce Plaintiff and the
16   members of Class to purchase the Products. Plaintiff and the Class members relied
17   on the representations when purchasing Defendant’s Products.
18         102. Defendant breached the express warranties by selling Products with
19   false and misleading advertised dosage amounts.
20         103. That breach actually and proximately caused injury in the form of the
21   price premium that Plaintiff and Class members paid for the Products.
22                              FIFTH CAUSE OF ACTION
23                              Breach of Implied Warranties
24                                  Cal. Com. Code § 2314
25                                 (on behalf of all Classes)
26         104. Plaintiff realleges and incorporates the allegations elsewhere in the
27   Complaint as if set forth in full herein.
28         105. Defendant, through its acts and omissions set forth herein, in the sale,

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1    marketing, and promotion of the Products, misrepresented the dosage amount of the
2    Products to Plaintiff and the Class.
3          106. Plaintiff and the Class purchased the Products manufactured,
4    advertised, and sold by Defendant, as described herein.
5          107. Defendant is a merchant with respect to the goods of this kind which
6    were sold to Plaintiff and the Class, and there was, in the sale to Plaintiff and other
7    consumers, an implied warranty that those goods were merchantable.
8          108. However, Defendant breached that implied warranty in that the
9    Products did not contain the represented dosage in each unit of the Products, and
10   instead, consumers must ingest multiple capsules, tablets, or gummies to achieve the
11   advertised dosage.
12         109. As an actual and proximate result of Defendant’s conduct, Plaintiff and
13   the Class did not receive goods as impliedly warranted by Defendant to be
14   merchantable in that the Products did not conform to promises and affirmations
15   made on the label of the Products.
16         110. Plaintiff and the Class have sustained damages as a proximate result of
17   the foregoing breach of implied warranty in the amount of the Products’ price
18   premium.
19                                  SIXTH CAUSE OF ACTION
20                                  Negligent Misrepresentation
21                                     (on behalf of all Classes)
22         111. Plaintiff realleges and incorporates the allegations elsewhere in the
23   Complaint as if set forth in full herein.
24         112. Defendant had a duty to disclose to Plaintiff and Class Members correct
25   information as to the quality and characteristics of the Products because Defendant
26   was in a superior position than Plaintiff and Class Members such that reliance by
27   Plaintiff and Class Members was justified. Defendant possessed the skills and
28   expertise to know the type of information that would influence a consumer’s

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1    purchasing decision.
2          113. During the applicable Class period, Defendant negligently or carelessly
3    misrepresented, omitted, and concealed from consumers material facts regarding the
4    quality and characteristics of the Products, including the amount of nutrients
5    contained in each capsule, tablet, or gummy.
6          114. Defendant made such false and misleading statements and omissions
7    with the intent to induce Plaintiff and Class Members to purchase the Products at a
8    premium price.
9          115. Defendant was careless in ascertaining the truth of its representations
10   in that it knew or should have known that Plaintiff and Class Members would be
11   overpaying for Products that contained substantially less milligrams per unit than
12   advertised.
13         116. Plaintiff and Class Members were unaware of the falsity in Defendant’s
14   misrepresentations and omissions and, as a result, justifiably relied on them when
15   making the decision to purchase the Products.
16         117. Plaintiff and Class Members would not have purchased the Products or
17   paid as much for the Products if the true facts had been known.
18                               SEVENTH CAUSE OF ACTION
19                             Intentional Misrepresentation/Fraud
20                                     (on behalf of all Classes)
21         118. Plaintiff realleges and incorporates the allegations elsewhere in the
22   Complaint as if set forth in full herein.
23         119. Defendant had a duty to disclose to Plaintiff and Class Members correct
24   information as to the quality and characteristics of the Products because Defendant
25   was in a superior position than Plaintiff and Class Members such that reliance by
26   Plaintiff and Class Members was justified. Defendant possessed the skills and
27   expertise to know the type of information that would influence a consumer’s
28   purchasing decision.

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1            120. During the applicable Class period, Defendant intentionally
2    misrepresented, omitted, and concealed from consumers material facts regarding the
3    quality and characteristics of the Products, including the dosage amount of each
4    capsule, tablet, or gummy. These representations were material and were uniformly
5    made.
6            121. As noted in detail above, these representations were false and
7    misleading, as each unit of the Products contained only a fraction of the advertised
8    dosage. Defendant made these misrepresentations with actual knowledge of their
9    falsity and/or made them with fraudulent intent.
10           122. Defendant made such false and misleading statements and omissions
11   with the intent to induce Plaintiff and Class Members to purchase the Products at a
12   premium price, deprive Plaintiff and Class Members of property or otherwise
13   causing injury, and thus, Defendant has committed fraud.
14           123. Defendant’s deceptive or fraudulent intent is evidenced by motive and
15   opportunity. Defendant knew that consumers would pay more for a product if they
16   believed they were receiving a higher dosage than that of competitors’ lawfully
17   labeled products. For that reason, Defendant misrepresented the dosage of its
18   Products so that Defendant could realize greater profits. Defendant knew that
19   consumers would place trust and confidence in its Products’ claims and rely thereon
20   in their purchases of the Products.
21           124. Plaintiff and the Class Members were unaware of the falsity in
22   Defendant’s misrepresentations and omissions and, as a result, justifiably relied on
23   them when making the decision to purchase the Products.
24           125. As a proximate result of Defendant’s intentional misrepresentations,
25   Plaintiff and the Class were induced to purchase the Products at a premium.
26           126. Plaintiff and the Class Members would not have purchased the Products
27   or paid as much for the Products if the true facts had been known.
28           127. As a result of their reliance, Plaintiff and Class Members were injured

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1    in an amount to be proven at trial, including, but not limited to, their lost benefit of
2    the bargain and overpayment at the time of purchase.
3          128. Defendant’s conduct was knowing, intentional, with malice,
4    demonstrated a complete lack of care, and was in reckless disregard for the rights of
5    Plaintiff and Class Members Plaintiff and Class Members are therefore entitled to
6    an award of punitive damages.
7                                 EIGHTH CAUSE OF ACTION
8                               Quasi-Contract/ Unjust Enrichment
9                                      (on behalf of all Classes)
10         129. Plaintiff realleges and incorporates the allegations elsewhere in the
11   Complaint as if set forth in full herein.
12         130. As alleged in detail above, Defendant’s false and misleading labelling
13   caused Plaintiff and the Class to purchase the Products at a premium.
14         131. In this way, Defendant received a direct and unjust benefit, at Plaintiff
15   and the Class’s expense.
16         132. It would be unjust and inequitable for Defendant to retain the above-
17   mentioned benefits. For example, Defendant was only able to charge a premium for
18   the Products by intentionally withholding information from Plaintiff, or otherwise
19   misrepresenting the Products’ qualities.
20         133. Plaintiff and the Class seek restitution.
21                            VII.    PRAYER FOR RELIEF
22         134. Wherefore, Plaintiff, on behalf of herself, all others similarly situated,
23   and the general public, prays for judgment against Defendant as follows:
24             • For an order certifying this action as a class action, appointing Plaintiff
25                as the Class Representative, and appointing Plaintiff’s Counsel as Class
26                Counsel;
27             • For an order declaring that Defendant’s conduct violates the statutes
28                and laws referenced herein, consistent with applicable law and pursuant

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1                to only those causes of action so permitted;
2             • For an order awarding monetary compensation in the form of damages,
3                restitution, and/or disgorgement to Plaintiff and the Class, consistent
4                with permissible law and pursuant to only those causes of action so
5                permitted;
6             • For an order awarding punitive damages, statutory penalties, and/or
7                monetary fines, consistent with permissible law and pursuant to only
8                those causes of action so permitted;
9             • For an order awarding attorneys’ fees and costs, consistent with
10               permissible law and pursuant to only those causes of action so
11               permitted;
12            • For an order awarding pre-judgment and post-judgment interest,
13               consistent with permissible law and pursuant to only those causes of
14               action so permitted; and
15            • For such other and further relief as the Court deems just and proper.
16                                    JURY DEMAND
17         Plaintiff hereby demands a trial by jury on all issues so triable.
18
19   Dated: October 11, 2024          CROSNER LEGAL, P.C.
20
21                                    By:   /s/ Lilach H. Klein
22                                          Lilach H. Klein
23                                    9440 Santa Monica Blvd. Suite 301
24                                    Beverly Hills, CA 90210
                                      Tel: (866) 276-7637
25
                                      Fax: (310) 510-6429
26                                    lilach@crosnerlegal.com
27
                                      Attorneys for Plaintiff and the Proposed Class
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1                       Civil Code Section 1780(d) Venue Affidavit
2          I, Lilach H. Klein, declare as follows:
3          1.     I am an attorney duly licensed to practice before all of the courts of the
4    State of California. I am one of the counsel of record for Plaintiff.
5          2.     This declaration is made pursuant to § 1780(d) of the California
6    Consumers Legal Remedies Act.
7          3.     Defendant has done, and is doing business in California, including in
8    this District. Such business includes the marketing, promotion, distribution, and sale
9    of the Products.
10         4.     Plaintiff Theus purchased one of the Products at issue in this District.
11
12         I declare under penalty of perjury under the laws of the State of California and
13   the United States that the foregoing is true and correct.
14
15         Executed on October 11, 2024 in Sacramento, California.
16
17                                           Crosner Legal, P.C.
18                                           By:     /s/ Lilach H. Klein
19                                                   LILACH H. KLEIN
20
                                             9440 Santa Monica Blvd. Suite 301
21                                           Beverly Hills, CA 90210
22                                           Tel: (866) 276-7637
                                             Fax: (310) 510-6429
23                                           lilach@crosnerlegal.com
24
                                             Attorneys for Plaintiff and the Proposed
25                                           Class
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